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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    DANIELA HERNÁNDEZ CHONG CUY
              Plaintiffs,             (LAW OFFICE OF D. H. CH. C.) IN
                                      SUPPORT OF PLAINTIFFS’ MOTION
     v.                               FOR A PRELIMINARY INJUNCTION
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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   SUPPLEMENTAL DECLARATION OF DANIELA HERNÁNDEZ CHONG CUY
   FOUNDER, DIRECTING ATTORNEY AND OWNER OF THE LAW OFFICE OF
                  DANIELA HERNÁNDEZ CHONG CUY

I, Daniela Hernández Chong Cuy, make the following statements on behalf of myself and the Law
Office of Daniela Hernández Chong Cuy. I certify under penalty of perjury that the following
statement is true and correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-5) as if fully set forth herein.
   2. My name is Daniela Hernández Chong Cuy and I am the founder, owner and Directing
      Attorney of the Law Office of Daniela Hernández Chong Cuy, a Professional Corporation.
      (“Law Office of D. H. CH. C.”). Based in Pasadena, California, the Law Office of D. H.
      CH. C. provides comprehensive legal representation to unaccompanied immigrant children
      formerly in the custody the Office of Refugee Resettlement (“ORR”) in Los Angeles, San
      Bernadino, Ventura, and Riverside counties. We are also the sole legal service provider
      for two ORR long-term foster care facilities (“LTFC”): Building Bridges Foster Family
      Agency in Ontario, CA, and MarSell Wellness in Montebello, CA.
   3. My office currently represents around 60 children under the ORR contract. As of this date,
      I have not withdrawn representation for any case, but I am preparing to do so, for the
      reasons stated below.
   4. My office faces the prospect of having to furlough and shut down operations by July 2025
      if funding for the representation is not restored. On April 1, 2025, I retained Ethics Counsel,
      at my law firms’ expense, to be able to ethically withdraw from cases before that date. I
      am currently preparing, with advice from my Ethics Counsel, an internal policy for
      withdrawing from cases, identifying which cases to withdraw from, and the timeline and
      procedures that would apply to those withdrawals.
   5. As of this date, I have been unable to withdraw from any cases due to the number of court
      hearings and filing deadlines I have had to comply with in the weeks since the contract
      termination. In total, for the month of April 2025, my office has seven court hearings (in
      Immigration Court and State Court), one asylum interview, and one USCIS deadline to
      respond to for clients retained under the ORR contract. We had three additional asylum
      interviews for this month that we moved to reschedule for a later date, including one for a
      one-year-old LTFC client. Just today, April 2, 2025, we appeared for two cases in the
      detained juvenile docket in immigration court for clients in Long Term Foster Care.
      Tomorrow, April 3, 2025, we have an asylum interview in the Asylum Office for another
      client retained under the ORR contract.



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   6. Due to the imminency of those hearings and legal deadlines, we could not ethically
      withdraw from the cases without prejudicing our clients, so we have continued to represent
      them at our own expense. To give a minor example, our time and travel to the Asylum
      office, around 80 miles round trip from our office location, is no longer going to be
      reimbursed by the contract. The expenditure of human resources, time, and materials
      required to represent existing clients under the ORR contract does not allow a small office
      like mine to pivot finding additional sources of income.

   7. I was advised by my Ethics Counsel to not seek non-immigration pro bono counsel to place
      cases, as I did not have the capacity to train them and supervise them, which could lead to
      inadequate representation and ethical violations.



I declare under penalty of perjury that the foregoing is true and correct.
Executed on the 2 of April 2025, in Pasadena, California.




_______________________________
Daniela Hernandez Chong Cuy
Directing Attorney/Owner
Law Office of Daniela Hernández Chong Cuy
UCP Legal Service Provider




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